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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  SUN CHEMICAL CORPORATION,
                                                  Civil Action No. 2:20-6252 (SRC-CLW)
                   Plaintiff,

  vs.
                                                        THIRD AMENDED PRETRIAL
  AMERICAN INTERNATIONAL GROUP,                            SCHEDULING ORDER
  INC.; AMERICAN HOME INSURANCE;
  NATIONAL UNION FIRE INSURANCE
  COMPANY OF PITTSBURGH, PA; and
  LANDMARK INSURANCE COMPANY,

                   Defendants.



        THIS MATTER having come before the Court for a scheduling conference pursuant to
 Rule 16 of the Federal Rules of Civil Procedure on January 20, 2022, and the parties having
 reviewed the Court’s Civil Case Management Order as well as the Local Civil Rules, and for good
 cause shown,

                       20 day of January, 2022;
        IT IS on this ____

        ORDERED THAT the next event in this matter will be a telephone conference on
 _____________ at _______ am/pm; and FURTHER ORDERED that this matter will proceed as
 follows:

 1.     Fact Discovery Deadline. Fact discovery is to remain open through November 2, 2022.
        All fact witness depositions must be completed by the close of fact discovery. No discovery
        is to be issued or engaged in beyond that date, except upon application and for good cause
        shown.

 2.     Motions to Add New Parties. Any motion to add new parties, whether by amended or
        third-party complaint, must be electronically filed no later than August 15, 2022.

 3.     Motions to Amend Pleadings. Any motion to amend pleadings must be electronically
        filed no later than August 15, 2022.

 4.     Rule 26 Disclosures. The parties shall exchange disclosures pursuant to Rule 26 no later
        than October 15, 2020.

 5.     Interrogatories. The parties may serve interrogatories limited to 40 single questions
        including subparts, on or before November 15, 2020, which shall be responded to by
        January 15, 2021.
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 6.    Document Requests. The parties may serve requests for production of documents on or
       before November 15, 2020, which shall be responded to by January 15, 2021. The parties
       agree that they will serve their initial document productions on or before November 8,
       2021.

 7.    Depositions. The number of depositions to be taken by each side shall not exceed 15. If
       the parties believe they need additional depositions and can show good cause for same they
       can, jointly or individually, approach the Court for permission.

 8.    Electronic Discovery. The parties are directed to Rule 26(f), as amended, which, inter
       alia, addresses preservation of discoverable information, discovery of electronically stored
       information, and claims of privilege or work product protection. The parties are also
       directed to Local Civil Rule 26.1(d) which describes the obligations of counsel with regard
       to their clients’ information management systems.

 9.    Discovery Disputes. Please refer to the Court’s Civil Case Management Order.

 10.   Motion Practice. Please refer to the Court’s Civil Case Management Order.

 11.   Expert Reports.

       a)     Plaintiff’s expert reports shall be served no later than December 1, 2022;
       b)     Defendants’ expert reports, including responsive expert reports, shall be served no
              later than February 2, 2023;
       c)     Plaintiff’s responsive and rebuttal expert reports shall be served no later than April
              3, 2023;
       d)     Defendants’ rebuttal expert reports shall be served no later than May 1, 2023; and
       e)     Expert depositions shall be completed no later than June 15, 2023.

 12.   Form and Content of Expert Reports. All expert reports must comport with the form and
       content requirements set forth in Rule 26(a)(2)(B). No expert shall testify at trial as to any
       opinions or base those opinions on facts not substantially disclosed in the expert’s report.

 13.   Extensions and Adjournments. Please refer to the Court’s Civil Case Management Order.

 14.   Protective Orders. Any proposed confidentiality order agreed to by the parties must
       strictly comply with Rule 26(c), Local Civil Rule 5.3, and applicable case law. Please also
       refer to the Court’s Civil Case Management Order.

 15.   Local Rules. The parties are directed to the Local Civil Rules for any other matter not
       addressed by this Order or the Court’s Civil Case Management Order.




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 16.   FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY OTHER
       ORDERS WILL RESULT IN SANCTIONS.




                                          /s/ Cathy L. Waldor
                                          CATHY L. WALDOR
                                          United States Magistrate Judge




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